 Case 21-14401             Doc 3-1 Filed 12/28/21 Entered 12/28/21 11:31:20                            Desc Statement
                              Accompanying Relief From Stay Page 1 of 1
Form G-4

                                             REQUIRED STATEMENT
                             TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

                              The Premier Property Team, LLC
  All Cases: Debtor(s) ________________________________________             21-14401
                                                                Case No. _______________           7
                                                                                         Chapter _____

                                     Ford Motor Credit Company LLC
  All Cases: Moving Creditor ____________________________________________                    12-21-2021
                                                                          Date Case Filed ____________

  Nature of Relief Sought: ~ Lift Stay          ~ Annul Stay       ~ Other (describe) ___________________________

  Chapter 13: Date of Confirmation Hearing ______________________ or Date Plan Confirmed ________________

  Chapter 7: ~ No-Asset Report Filed on ______________________________
             ~ No-Asset Report not Filed, Date of Creditors Meeting ___________________________________
                                                                       no 341 (or ch 7 trustee) assigned yet.

  1.       Collateral
           a.       ~ Home
           b.       ~ Car Year, Make, and Model ___________________________________________
                                                               2017 Ford E-450
           c.       ~ Other (describe)______________________________________________________

  2.                                                        26,531.60
           Balance Owed as of Petition Date $ _________________________
           Total of all other Liens against Collateral $_____________________

  3.       In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
           amounts and dates of all payments received from the debtor(s) post-petition.

  4.                                                                         23,100 (est. wholesale value)
           Estimated Value of Collateral (must be supplied in all cases) $ ___________________________

  5.       Default
           a.      ~ Pre-Petition Default
                   Number of months _____
                                       2                                  2,916.16
                                                          Amount $ _____________________

           b.        ~ Post-Petition Default
                     i.      ~ On direct payments to the moving creditor
                             Number of months _____
                                                 1                             908.08
                                                              Amount $ _____________________

                     ii.      ~ On payments to the Standing Chapter 13 Trustee
                              Number of months _____          Amount $ _____________________

  6.       Other Allegations
           a.      ~ Lack of Adequate Protection § 362(d)(1)
                   i.        ~ No insurance
                   ii.       ~ Taxes unpaid           Amount $ _____________________
                   iii.      ~ Rapidly depreciating asset
                   iv.       ~ Other (describe) _______________________________________________________
                                                          Default above is before attorney's fees & costs

           b.        ~ No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

           c.        ~ Other “Cause” § 362(d)(1)
                     i.     ~ Bad Faith (describe)____________________________________________________
                     ii.    ~ Multiple Filings
                     iii.   ~ Other (describe) _______________________________________________________
                                                    Involuntary Dissolution of the LLC was on July 9, 2021

           d.        Debtor’s Statement of Intention regarding the Collateral
                     i. ~ Reaffirm ii ~ Redeem iii. ~ Surrender iv. ~ No Statement of Intention Filed

            see date motion was filed.
  Date: _____________________________                                 /s/ Christopher H. Purcell
                                                          _______________________________________________
                                                                          Counsel for Movant
  (Rev. 12 /21/09)
